Case 2:19-cr-00353-MWF _Document122. Filed 02/12/24. Pagelofi Page ID#573
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES —- SENTENCING AND JUDGMENT

( Amended )

Case No. CR _19-353(A)-MWF Date: February 12. 2024

Present: The Honorable: Michael W. Fitzgerald, United States District Judge

Rita Sanchez Amy Diaz Daniel Weiner
Deputy Clerk Court Reporter / Recorder Assistant U.S. Attorney
Defendant Custody Bond Counsel for Defendant Retd DFPD Panel Interpreter
Drew Joseph Henry Lx} |_| Richard W. Raynor L | CL! Lx] na
PROCEEDINGS: SENTENCING AND JUDGMENT LJ Contested Non-Evidentiary

Day ___ (if continued from a prior hearing date)

[] Refer to Judgment and Probation/Commitment Order; signed copy attached hereto. XX Refer to separate Judgment Order.
Imprisonment for years/months on each of count(s)

Count(s) concurrent/consecutive to count(s)

Fine of $ is imposed on each of count(s) concurrent/consecutive.
Execution/Imposition of sentence as to imprisonment only suspended on count(s)

Confined in jail-type institution for to be served on consecutive days/weekends
commencing

years/months Supervised Release/Probation imposed on count(s)

consecutive/concurrent to count(s)
under the usual terms & conditions (see back of Judgment/Commitment Order) and the following additional terms and
conditions, under the direction of the Probation Office:
|_ Perform hours of community ser . fine amounts & times determined by P/O.
|_ Serve ina cec/cTL_] Make $ restitution in amounts & times determined by PO.
Participate in a program for treatment of narcotic/alcohol addiction.
Pay any fine imposed by this sentence & that remains unpaid at commencement of community supervision. Comply with
tules/regulations of ICE, if deported not return to U.S.A. illegally and upon any reentry during period of supervision
report to the nearest P/O within 72 hours.
[| Other conditions:

[| Pursuant to Section SE1.2(e), all fines are waived, including costs of imprisonment & supervision. The Court finds the
defendant does not have the ability to pay.

Pay $ per count, special assessment to the United States for a total of $
Imprisonmentfor months/years and for a study pursuant to 18 USC

with results to be furnished to the Court within days/months whereupon the sentences shall be subject to modification. This
matter is set for further hearing on

Government's motion, all remaining count(s)/underlying indictment/information, ordered dismissed.

Defendant informed of right to appeal.
ORDER sentencing transcript for Sentencing Commis _ |}. Processed statement of reasons

Bond Exond _|d upon surrender upon service of.
Execution of sentence is stayed until 12 noon,

at which time the defendant shall surrender to the designated facility of the Bureau of Prisons, or, if no designation made, to the
Defendant ordered remanded to/released from custody of U.S. Marshal forthwith.
Issued Remand/Release #

Present bond to continue as bond on appea Appeal bond set at $

Filed and distributed judgment. ENTERED.
X | Other The Court sets a Restitution Hearing for 5/13/24 at 2:00 p.m. The defendant waives his presence at the hearing

and requests to be designated as soon as possible.

cc: BOP, USPPO, USMS 1:35
Initials of Deputy Clerk _ rs

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